       Case 3:20-cv-00308-SDD-RLB        Document 17     06/03/20 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA


TELISA CLARK, ET AL.                                               CIVIL ACTION

VERSUS

JOHN BEL EDWARDS, ET AL.                                  NO.: 20-00308-SDD-RLB

                                Consolidated With

POWER COALITION FOR EQUITY AND                                     CIVIL ACTION
JUSTICE, ET AL.

VERSUS

JOHN BEL EDWARDS, ET AL.                                  NO.: 20-00283-BAJ-EWD


                                      ORDER
      Having found that the above titled actions involve common questions of law

and fact, IT IS ORDERED that Defendants’ Motion to Consolidate (Doc. 15 in

Case No. 3:20-cv-283) is GRANTED.


      IT IS FURTHER ORDRED that the matter captioned Power Coalition for

Equity and Justice, et al v. Edwards, et al., Civil Action No. 20-00283-BAJ-EWD is

hereby transferred to Chief Judge Shelly D. Dick and consolidated with the matter

captioned Clark, et al. v. Edwards, et al., Civil Action No. 20-cv-00308-SDD-RLB for

all purposes and until otherwise ordered by the Court.


      Additionally, the undersigned Judge Brian A. Jackson hereby recuses himself

in this matter. While Local Civil Rule 10(b)(2) provides that the lowest numbered

case will serve as the identifying caption, in this matter, pursuant to the recusal of
       Case 3:20-cv-00308-SDD-RLB      Document 17   06/03/20 Page 2 of 2




Judge Jackson, Clark, et al. v. Edwards, et al., Civil Case Number 3:20-00308-SDD-

RLB is hereby designated as the lead case.


                            Baton Rouge, Louisiana, this _______
                                                          3rd    day of June, 2020

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                                      _______________________________________
                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA


                                      _____________________________________
                                      JUDGE BRIAN A. JACKSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




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